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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

 

TAMPA DIVISION
IN RE:
Evangela Phyllis Varvouris CASE NO.:
Debtor(s).
CHAPTER 13 PLAN
A. NOTICES.

Debtor! must check one box on each line to state whether or not the Plan includes each of the
following items. If an item is checked as “Not Included,” if both boxes are checked, or if neither
box is checked, the provision will be ineffective if set out later in the Plan.

 

A limit on the amount of a secured claim based on a valuation which may | Included Not Included
result in a partial payment or no payment at all to the secured creditor. See | 0 x
Sections C.5(d) and (e). A separate motion will be filed.

 

Avoidance of a judicial lien or nonpossessory, nonpurchase money security | Included Not Included

 

interest under 11 U.S.C. § 522(f). A separate motion will be filed. See | O x]

Section C.5(e).

Nonstandard provisions, set out in Section E. Included Not Included
O

 

 

 

 

 

NOTICE TO DEBTOR: IF YOU ELECT TO MAKE DIRECT PAYMENTS TO A SECURED
CREDITOR UNDER SECTION C.5(i) OF THIS PLAN, TO SURRENDER THE SECURED
CREDITOR’S COLLATERAL UNDER SECTION C.5(j), TO NOT MAKE PAYMENTS TO
THE SECURED CREDITOR UNDER SECTION C.5(k), OR IF PAYMENTS TO A SECURED
CREDITOR ARE NOT SPECIFICALLY INCLUDED IN THE PLAN PAYMENTS, THE
AUTOMATIC STAY DOES NOT APPLY, AND THE CREDITOR MAY TAKE ACTION TO
FORECLOSE OR REPOSSESS THE COLLATERAL.

SECURED CREDITORS INCLUDE THE HOLDERS OF MORTGAGE LOANS, CAR
LOANS, AND OTHER LOANS FOR WHICH THE SECURED CREDITOR HAS A
SECUREITY INTEREST IN PERSONAL OR REAL PROPERTY COLLATERAL.

 

' All references to “Debtor” include and refer to both of the debtors in a case filed jointly by two individuals.
 

 

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B. MONTHLY PLAN PAYMENTS. Plan payments include the Trustee’s fee of 10% and shall
begin 30 days from petition filing/conversion date. Debtor shall make payments to the Trustee for
the period of 60 months. If the Trustee does not retain the full 10%, any portion not retained will
be disbursed to allowed claims receiving payments under the Plan and may cause an increased
distribution to the unsecured class of creditors.

 

$1,242:55 from months | through 60.
C. PROPOSED DISTRIBUTIONS.
1. ADMINISTRATIVE ATTORNEY’S FEES.
Base Fee $4,500.00 Total Paid Prepetition $0.00 Balance Due $2,600.00
MMM Fee $0.00 Total Paid Prepetition $0.00 Balance Due $0.00
Estimated Monitoring Fee at $ 50.00 per Month.

Attorney’s Fees Payable Through Plan at $300.00 Monthly (subject to adjustment).

 

2. DOMESTIC SUPPORT OBLIGATIONS (as defined in 11 U.S.C. §101(14A).

 

Acct. No. Creditor Total Claim Amount
None

 

 

 

 

 

3. PRIORITY CLAIMS (as defined in 11 U.S.C. § 507).

 

Last Four Digits of Acct. No. Creditor Total Claim Amount
None

 

 

 

 

 

4. TRUSTEE FEES. From each payment received from Debtor, the Trustee shall receive a fee,
the percentage of which is fixed periodically by the United States Trustee.

5. SECURED CLAIMS. Pre-confirmation payments allocated to secured creditors under the
Plan, other than amounts allocated to cure arrearages, shall be deemed adequate protection
payments. The Trustee shall disburse adequate protection payments to secured creditors prior
to confirmation, as soon as practicable, if the Plan provides for payment to the secured creditor,
the secured creditor has filed a proof of claim or Debtor or Trustee has filed a proof of claim
for the secured creditor under 11 U.S.C. §501(c), and no objection to the claim is pending. If
Debtor’s payments under the Plan are timely paid, payments to secured creditors under the
Plan shall be deemed contractually paid on time.

(a) Claims Secured by Debtor’s Principal Residence Which Debtor Intends to Retain -
Mortgage, HOA and Condo Association Payments, and Arrears, if any, Paid Through
the Plan Under 11 U.S.C. §1322(b)(5). Debtor will cure prepetition arrearages and
maintain regular monthly postpetition payments on the following claims secured by
Debtor’s principal residence. Postpetition mortgage payments must be included in the Plan
Payments. Mortgage payments are due on the first payment due date after the case is filed
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and continue monthly thereafter. The amount of postpetition mortgage payments may be
adjusted as provided for under the loan documents. The Plan may provide for the cure of
arrearages to homeowner’s and condominium associations and may, but need not, include
the payment of postpetition assessments in the Plan Payments. Under 11 U.S.C.
§1328(a)(1), Debtor will not receive a discharge of personal liability on these claims.

 

 

 

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Payment

None

 

 

 

 

 

 

(b) Claims Secured by Other Real Property Which Debtor Intends to Retain - Mortgage

 

Payments, HOA and Condo Association Payments, and Arrears, if any, Paid Through
the Plan Under 11 U.S.C. §1322(b)(5). Debtor will cure prepetition arrearages and
maintain regular monthly postpetition payments on the following claims secured by real
property. Postpetition mortgage payments must be included in the Plan. Payments are due
on the first payment due date after the case is filed and continue monthly thereafter. The
amount of postpetition mortgage payments may be adjusted as provided for under the loan
documents. The Plan may provide for the cure of arrearages to homeowner’s and
condominium associations and may, but need not, include the payment of postpetition
assessments in the Plan Payments. Under 11 U.S.C. §1328(a)(1), Debtor will not receive a
discharge of personal liability on these claims.

 

 

 

 

 

Last Four Creditor Collateral Regular Gap Arrears
Digits of Address Monthly Payment
Acct. No. Payment

None

 

 

 

 

(c) Claims Secured by Real Property - Debtor Intends to Seek Mortgage Modification.

 

Pending the resolution of a mortgage modification request, the Plan Payments shall include
the following adequate protection payments to the Trustee: (1) for homestead property,
the lesser of 31% of gross monthly income of Debtor and non-filing spouse, if any (after
deducting homeowners association fees), or the normal monthly contractual mortgage
payment; or (2) for non-homestead, income-producing property, 75% of the gross rental
income generated from the property. If Debtor obtains a modification of the mortgage, the
modified payments shall be included in the Plan Payments. Debtor will not receive a
discharge of personal liability on these claims.

 

 

 

Last Four Digits of Creditor Collateral Address Adequate Protection
Acct. No. Payment
None

 

 

 

 

(d) Claims Secured by Real Property or Personal Property to Which Section 506

 

Valuation APPLIES (Strip Down). Under 11 U.S.C. § 1322 (b)(2), this provision does
not apply to a claim secured solely by Debtor’s principal residence. A separate motion to
determine secured status or to value the collateral must be filed. The secured portion
of the claim, estimated below, shall be paid. Unless otherwise stated in Section E, the Plan
Payments do not include payments for escrowed property taxes or insurance.
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Last Four Creditor Collateral Claim Value Payment | Interest
Digits of Description/ | Amount Through Rate
Acct. No. Address Plan
. ; 2017
0013 Mid-Florida | Cpevrolet | $25,727.00 | $22,225.00 | $592.54 | 5.25%
Credit Union Camaro

 

 

 

 

 

 

 

 

(e) Liens to be Avoided Under 11 U.S.C. § 522 or Stripped Off Under 11 U.S.C. § 506.
Debtor must file a separate motion under 11 U.S.C. § 522 to avoid a judicial lien or a
nonpossessory, nonpurchase money security interest because it impairs an exemption or
under 11 U.S.C. § 506 to determine secured status and to strip a lien.

 

 

 

Last Four Digits Creditor Collateral Description /
of Acct. No. Address
None

 

 

 

 

(f) Payments on Claims Secured by Real Property and/or Personal Property to Which
11 U.S.C. §506 Valuation DOES NOT APPLY Under the Final Paragraph in 11
U.S.C. § 1325(a). The claims listed below were either: (1) incurred within 910 days before
the petition date and secured by a purchase money security interest in a motor vehicle
acquired for the personal use of Debtor; or (2) incurred within one year of the petition date
and secured by a purchase money security interest in any other thing of value. These claims
will be paid in full under the Plan with interest at the rate stated below.

 

 

 

Last Four Creditor Collateral Claim Payment Interest
Digits of Description/ Amount Through Plan Rate
Acct. No. Address
Harley 2017 Harley
1314 Davidson Davidson Street $16,842.00 $449.03 5.25
Financial Glide

 

 

 

 

 

 

 

(g) Claims Secured by Real or Personal Property to be Paid with Interest Through the
Plan under 11 U.S.C. § 1322(b)(2). The following secured claims will be paid in full
under the Plan with interest at the rate stated below.

 

 

 

Last Four | Creditor | Collateral Description/ Claim Payment Interest
Digits of Address Amount | Through Plan Rate
Acct. No.

None

 

 

 

 

 

 

 

(h) Claims Secured by Personal Property — Maintaining Regular Payments and Curing
Arrearage, if any, Under 11 U.S.C. §1325(b). Under 11 U.S.C. §1328(a)(1), unless the
principal amount of the claim is paid in full through the Plan. Debtor will not receive a
discharge of personal liability on these claims.
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Last Four Digits Creditor Collateral Regular Contractual Arrearage
of Acct. No. Description Payment
None

 

 

 

 

 

 

(i) Secured Claims Paid Directly by Debtor. The following secured claims are being made

via automatic debit/draft from Debtor’s depository account and are to continue to be paid
directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft. The
automatic stay under 11 U.S.C. §§362(a) and 1301(a) is terminated in rem as to Debtor and
in rem and in personam as to any codebtor as to these creditors and lessors upon the filing
of this Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law contract
rights. Because these secured claims are not provided for under the Plan, under 11 U.S.C.
§1328(a), Debtor will not receive a discharge of personal liability on these claims.

 

Last Four Digits of Acct. No. Creditor

Property/Collateral

 

 

None

 

 

 

 

(j) Surrender of Collateral/Property that Secures a Claim. Debtor will surrender the

following collateral/property. The automatic stay under 11 U.S.C. §§ 362(a) and 1301(a)
is terminated in rem as to Debtor and in rem and in personam as to any codebtor as to these
creditors upon the filing of this Plan.

 

Last Four Digits of Acct. No. Creditor

Collateral/Property
Description/Address

 

 

 

 

 

None

 

(k) Secured Claims That Debtor Does Not Intend to Pay. Debtor does not intend to make

payments to the following secured creditors. The automatic stay under 1] U.S.C. §§362(a)
and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to any
codebtor with respect to these creditors upon the filing of this Plan. Debtor’s state law
contract rights and defenses are neither terminated nor abrogated. Because these secured
claims are not provided for under the Plan, under 11 U.S.C. §1328(a), Debtor will not
receive a discharge of personal liability on these claims.

 

Last Four Digits of Acct. No.

Creditor

Collateral
Description/Address

 

 

 

None

 

 

 

6. LEASES /EXECUTORY CONTRACTS. As and for adequate protection, the Trustee shall
disburse payments to creditors under leases or executory contracts prior to confirmation, as
soon as practicable, if the Plan provides for payment to creditor/lessor, the creditor/lessor has
filed a proof of claim or Debtor or Trustee has filed a proof of claim for the secured
creditor/lessor under 11 U.S.C. § 501(c), and no objection to the claim is pending. If Debtor’s
payments under the Plan are timely paid, payments to creditors/lessors under the Plan shall be

deemed contractually paid on time.

(a) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid

and Arrearages Cured Through the

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Debtor assumes the following
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leases/executory contracts and proposes the prompt cure of any prepetition arrearage as
follows. Under 11 U.S.C. §1328(a)(1), if the claim of the lessor/creditor is not paid in full
through the Plan, Debtor will not receive a discharge of personal liability on these claims.

 

 

 

Last Four Digits | Creditor/ | Description of Leased Regular Arrearage
of Acct. No. Lessor Property Contractual and Proposed
Payment Cure
None $1,346.93

 

 

 

 

 

 

(b) Assumption of Leases/Executory Contracts for Real or Personal Property to be Paid

Directly by Debtor. Debtor assumes the following lease/executory contract claims that are
paid via automatic debit/draft from Debtor’s depository account and are to continue to be
paid directly to the creditor or lessor by Debtor outside the Plan via automatic debit/draft.
The automatic stay under 11 U.S.C. §§362(a) and 1301(a) is terminated in rem as to Debtor
and in rem and in personam as to any codebtor as to these creditors and lessors upon the
filing of this Plan. Nothing herein is intended to terminate or abrogate Debtor’s state law
contract rights. Because these leases/executory contracts are not provided for under the
Plan, under 11 U.S.C. §1328(a), Debtor will not receive a discharge of personal liability
on these claims.

 

Last Four Digits of Acct. No. Creditor/Lessor Property/Collateral

 

 

 

 

 

None

 

(c) Rejection of Leases/Executory Contracts and Surrender of Real or Personal Leased

Property. Debtor rejects the following leases/executory contracts and will surrender the
following leased real or personal property. The automatic stay under 11 U.S.C. §§362(a)
and 1301(a) is terminated in rem as to Debtor and in rem and in personam as to any
codebtor as to these creditors and lessors upon the filing of this Plan.

 

Last Four Digits of Acct. No. Creditor/Lessor Property/Collateral to be

Surrendered

 

 

None

 

 

 

 

7. GENERAL UNSECURED CREDITORS. General unsecured creditors with allowed claims

shall receive a pro rata share of the balance of any funds remaining after payments to the above
referenced creditors or shall otherwise be paid under a subsequent Order Confirming Plan. The
estimated dividend to unsecured creditors shall be no less than the amount determined by the
Court.

D. GENERAL PLAN PROVISIONS:

1.

Secured creditors, whether or not dealt with under the Plan, shall retain the liens securing such
claims.

Payments made to any creditor shall be based upon the amount set forth in the creditor’s proof
of claim or other amount as allowed by an Order of the Bankruptcy Court.
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3. If Debtor fails to check (a) or (b) below, or if Debtor checks both (a) and (b), property of the
estate shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case,
unless the Court orders otherwise. Property of the estate

(a) OO shall not vest in Debtor until the earlier of Debtor’s discharge or dismissal of this case,
unless the Court orders otherwise, or

(b) & shall vest in Debtor upon confirmation of the Plan.

4. The amounts listed for claims in this Plan are based upon Debtor’s best estimate and belief
and/or the proofs of claim as filed and allowed. Unless otherwise ordered by the Court, the
Trustee shall only pay creditors with filed and allowed proofs of claim. An allowed proof of
claim will control, unless the Court orders otherwise.

5. Debtor may attach a summary or spreadsheet to provide an estimate of anticipated distributions.
The actual distributions may vary. If the summary or spreadsheet conflicts with this Plan, the
provisions of the Plan control prior to confirmation, after which time the Order Confirming
Plan shall control.

6. Debtor shall timely file all tax returns and make all tax payments and deposits when due.
(However, if Debtor is not required to file tax returns, Debtor shall provide the Trustee with a
statement to that effect.) For each tax return that becomes due after the case is filed, Debtor
shall provide a complete copy of the tax return, including business returns if Debtor owns a
business, together with all related W-2s and Form 1099s, to the Trustee within 14 days of filing
the return. Unless otherwise ordered, consented to by the Trustee, or ordered by the Court,
Debtor shall turn over to the Trustee all tax refunds in addition to regular Plan payments.
Debtor shall not instruct the Internal Revenue Service or other taxing agency to apply a refund
to the following year’s tax liability. Debtor shall not spend any tax refund without first
having obtained the Trustee’s consent or Court approval.

E. NONSTANDARD PROVISIONS as Defined in Federal Rule of Bankruptcy Procedure
3015(c). Note: Any nonstandard provisions of this Plan other than those set out in this section are
deemed void and are stricken.

Hyatt Legal Services pays $1,900.00 toward the attorneys’ fees upon the filing of a
bankruptcy case, which explains the inconsistency in the attorney fee formula in Paragraph
2.
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CERTIFICATION
By filing this document, the Attorney for Debtor, or Debtor, if not represented by an
attorney, certifies that the wording and order of the provisions in this Chapter 13 Plan are
identical to those contained in the Model! Plan adopted by this Court, and that this Plan contains
no additional or deleted wording or nonstandard provisions other than any nonstandard
provisions included in Section E.

SIG Ss}

Debtor
Evangela Phyllis oO ate-01/13/2020

Evangela Phyllis Varvouris

Attorney for Debtor(s

PZ Date Mb lA /eoee

Daniel Todd Dean, Esquire

 
